      Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 1 of 20



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------------ X
SAGI GENGER,                                                             :
                                                                         :
                                          Plaintiff,                     :   1:14-cv-05683 (KBF)
                                                                         :
                         -against-                                       :
                                                                         :
ORLY GENGER,
                                                                         :
                                          Defendant.                     :
------------------------------------------------------------------------ X




                    MEMORANDUM OF LAW IN SUPPORT OF
         PLAINTIFF SAGI GENGER’S MOTION FOR SUMMARY JUDGMENT




                                                         MORGAN, LEWIS & BOCKIUS LLP
                                                         John Dellaportas
                                                         Nicholas Schretzman
                                                         Mary C. Pennisi
                                                         101 Park Avenue
                                                         New York, NY 10178-0060
                                                         Tel.: (212) 309-6000
                                                         Fax: (212) 309-6001
           Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 2 of 20



                                                     TABLE OF CONTENTS

                                                                                                                                         Page

PRELIMINARY STATEMENT .................................................................................................... 1

STATEMENT OF FACTS ............................................................................................................. 1

ARGUMENT.................................................................................................................................. 7

I.          Legal Standard .................................................................................................................... 7

II.         Sagi is Entitled to Summary Judgment on His Claim for
            Breach of Contract .............................................................................................................. 8

      A.         The Undisputed Evidence Demonstrates that the
                 Nov. 10, 2004 Indemnity is an Enforceable Contract................................................... 8

      B.         Orly Undisputedly Breached the Nov. 10, 2004 Indemnity ....................................... 13

      C.         Orly Had No Right to Defend Against Dalia’s Claim ................................................ 14

III.        In the Alternative, Sagi is Entitled to Summary Judgment on
            His Claim for Promissory Estoppel .................................................................................. 15

CONCLUSION............................................................................................................................. 16




                                                                        i
        Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 3 of 20



                                               TABLE OF AUTHORITIES

                                                                                                                              Page(s)
CASES

Anderson v. Liberty Lobby, Inc.,
   477 U.S. 242 (1986)...................................................................................................................7

Ciocca v. Neff,
   2005 WL 1473819 (S.D.N.Y. June 22, 2005) .........................................................................15

Commodity Futures Trading Comm’n v. Walsh,
  17 N.Y.3d 162 (2011) ..............................................................................................................10

Commander Oil Corp. v. Advance Food Serv. Equip.,
  991 F.2d 49 (2d Cir. 1993).......................................................................................................11

Computer Possibilities Unlimited, Inc. v. Mobil Oil Corp.,
  301 A.D.2d 70 (1st Dep’t 2002) ..............................................................................................15

Consol. Energy Design Inc. v. Princeton Club of New York,
   2014 WL 1202946 (S.D.N.Y. March 24, 2014) ......................................................................16

Deutsche Bank Trust Co. of Ams. v. Tri-Links Inv. Trust,
   74 A.D.3d 32 (1st Dep’t 2010) ................................................................................................14

Esquire Radio & Elecs., Inc. v. Montgomery Ward & Co., Inc.,
   804 F.2d 787 (2d Cir. 1986).....................................................................................................15

Henneberry v. Sumitomo Corp. of Am.,
   532 F. Supp. 2d 523 (S.D.N.Y. 2007)......................................................................................15

Hollander v. Lipman,
   65 A.D.3d 1086 (2d Dep’t 2009) ............................................................................................12

Holt v. Feigenbaum,
   52 N.Y.2d 291 (1981) ..............................................................................................................12

Matter of Zach,
  144 A.D.2d 19 (1st Dep’t 1989) ................................................................................................9

Knight v. U.S. Fire Ins. Co.,
   804 F.2d 9 (2d Cir. 1986)...........................................................................................................7

Kurz v. United States,
   156 F. Supp. 99 (S.D.N.Y. 1957),
   aff’d, 254 F.2d 811 (2d Cir. 1958) ...........................................................................................11



                                                                    ii
        Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 4 of 20



Matsushita Elec. Indus. Co. v. Zenith Radio Corp.,
   475 U.S. 574 (1986)...................................................................................................................7

Meyersohn v. Bloom,
   259 A.D. 432 (1st Dep’t 1999) ................................................................................................16

Morse/Diesel, Inc. v. Trinity Indus., Inc.,
  1994 WL 164057 (S.D.N.Y. Apr. 21, 1994)............................................................................14

Nat’l Mkt. Share, Inc. v. Sterling Nat’l Bank,
   392 F.3d 520 (2d Cir. 2004).......................................................................................................8

Nau v. Vulcan Rail & Constr. Co.,
   286 N.Y. 188 (1944) .......................................................................................................... 11-12

RLS Assocs, LLC v. United Bank of Kuwait PLC,
   380 F.3d 704 (2d Cir. 2004)...............................................................................................10, 12

Tai-Sun Plastic Novelties, Ltd. v. Haschel Exp. Corp.,
   2003 WL 22966285 (S.D.N.Y. Dec. 16, 2003) .........................................................................9

Weiner v. McGraw-Hill, Inc.,
   57 N.Y.2d 458 (1982) ..............................................................................................................12

OTHER AUTHORITIES

Fed. R. Civ. P. 56(a) ..............................................................................................................7, 8, 15

Restatement (Second) of Contracts, § 90 (1981) ...........................................................................15

Williston, Contracts, § 863 (3rd ed. 1970) ....................................................................................11




                                                                    iii
      Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 5 of 20



                                   PRELIMINARY STATEMENT

        This is a straightforward contract case. In 2004, plaintiff Sagi Genger (“Sagi”) and

defendant Orly Genger (“Orly”) agreed to support their mother, Dalia Genger (“Dalia”), in her

retirement, out of the valuable economic benefits of shares of stock of Trans-Resources, Inc.

(“TRI”) that Dalia gave to her children’s trusts as part of her divorce from her husband, Arie

Genger (“Arie”). Their agreement was later reduced to two written documents. In 2014, Dalia –

financially harmed from all of the meritless lawsuits Orly has filed against her over the years –

asked for financial support out of the TRI shares she had given away in 2004. Sagi has fulfilled

his commitment to his mother, but Orly has not. Instead, she has propped up her lawyers to cry

“forgery” on a document she knows full well to be real.

        At bottom, this case is about a clear and unambiguous one-page written agreement

between Sagi and Orly, pursuant to which Orly has a duty to reimburse Sagi for one-half of all

monies paid by Sagi to support Dalia. As set forth below, the undisputed facts demonstrate that

the Nov. 10, 2004 Indemnity is a valid and binding contract, that Orly has received consideration

thereunder, that she has breached and repudiated that contract, that Sagi has suffered a monetary

loss as a result, and that Orly is estopped from claiming otherwise. Sagi is therefore entitled to

summary judgment of liability in his favor.

                                      STATEMENT OF FACTS1

        In 2004, the Genger family was being torn apart, as Dalia and Arie bitterly negotiated

their divorce settlement, seemingly without end. See Declaration of Mary C. Pennisi, executed

on October 20, 2014 (“Pennisi Decl.”), Exh “A,” Tr. 16:22-17:2 (“My sister was … crying

1
        The facts herein are drawn from the declarations filed in the predecessor case, No. 1:14-cv-
01006, of David Parnes, executed on May 29, 2014 (“Parnes Decl.”), Sagi Genger, executed on May 29,
2014 (“May 29 Sagi Decl.”), Dennis Ryan, executed on May 29, 2014 (“Ryan Decl.”), Sagi Genger,
executed on July 7, 2014 (“July 7 Sagi Decl.”), and Dalia Genger, executed on July 7, 2014 (“Dalia
Decl.”), and are annexed to the Pennisi Declaration filed herein as Exhibits H, I, J, K, and D, respectively.
      Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 6 of 20



hysterically and literally begging my mother to bring this – all this matter to a conclusion. It was

very difficult for her, as it was for me.”).

        One issue holding up the divorce was Dalia’s skepticism of Arie’s claim that the family’s

TRI stock had no value. Id., Tr. 16:2-16:6 (“my sister and I were pleading with my mother to

sign what substantially was a stipulation of settlement, and she was very doubtful about [Arie’s]

representations that the TRI shares were worthless”). In 2004, a deal was struck whereby Dalia

agreed to convey her marital rights to her 794.40 shares of TRI to two trusts for the benefit of

Sagi and Orly, respectively, with a right to claw back her living expenses if the TRI shares ended

up having economic value. Id., Tr. 23:10-23:13 (“we would give my mother the ability to call

back in value … her shares that would have been allocated to her”). The parties’ agreement was

thereafter reduced to writing in two related documents:

        First, pursuant to a co-signed letter dated October 30, 2004 (the “Oct. 30, 2004

Promise”), Sagi agreed to pay Dalia an amount equal to all dividends, distributions, proceeds or

other payments attributable to the shares of TRI that were received by Sagi and Orly (or any trust

for the benefit of either of them), or any lesser amount, upon demand by Dalia. The underlying

divorce papers were not delivered to the Court for approval, but instead were held in escrow,

until Orly executed a related document embodying her earlier oral promise to reimburse Sagi for

50% of his support payments to Dalia. Parnes Decl., Exh. “A” & ¶ 9.

        Second, as she had earlier orally promised to do, Orly executed a co-signed letter dated

November 10, 2004 (the “Nov. 10, 2004 Indemnity”) agreeing to “indemnify, defend, and hold

[Sagi] harmless, for and against one-half … of any and all payments, liabilities, damages, claims,

actions, losses, settlements, penalties, judgments or obligations …, including [Sagi’s] reasonable

counsel and other professional fees, expenses and costs, which arise from [Sagi’s] undertakings

[to Dalia] in the [Oct. 30, 2004 Promise].” Id., Exh. “B” ¶ 9.

                                                 2
      Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 7 of 20



       The parties’ agreement was executed in two parts because, on October 30, 2004 – the

closing date of Arie’s and Dalia’s stipulation of settlement (the “Divorce Stipulation”) – Orly

was vacationing on a yacht off the coast of Fiji. Id., ¶ 5; Pennisi Decl., Exh “A,” Tr. 30:8-30:18;

Tr. 43:18-43:22; Id., Exh. “G” at 0008-0010. Before leaving for Fiji, however, Orly orally

agreed with Sagi to grant Dalia a clawback for living expenses, should the TRI shares generate

value – an agreement she then reconfirmed by telephone on the October 30, 2004 closing date.

Id., Exh. “A.,” Tr. 29:18-29:21 (Orly told Sagi: “if that’s what moves the ball forward, it should

be done; and that … she’d back me, obviously 50-50 on whatever we had to do”); Tr. 32:10-

32:12 (“I read [the Nov. 10, 2004 Indemnity] to her, she said, ‘Fine, whatever it is I’ll back –

backstop you 50-50.’”); Tr. 98:12-99:16 (“She said to me, ‘Obviously whatever you think is

correct and that it’s 50-50 between us … if that’s what mom wants and it gets it closed, that’s

what we’ll do.’”); July 7 Sagi Decl. ¶ 5.

       While Orly was yachting in the Pacific Ocean, her father, Arie’s divorce attorney,

Edward Klimerman, was asked to prepare a document reflecting the parties’ oral agreement.

(Mr. Klimerman was a partner at the law firm of Sonnenschein Nath & Rosenthal LLP, and he

also held Orly’s power of attorney on certain matters.) See Pennisi Decl., Exh. “A,” Tr. 114:16-

17; May 29 Sagi Decl., Exh. “A” at 7; Pennisi Decl., Exh. “G,” at 0008-0010. On November 10,

2004, Mr. Klimerman’s assistant, Deborah Kempf, sent to Sagi, as an email attachment, the

document which became the Nov. 10, 2004 Indemnity:

       From: Kempf, Deborah [mailto:dkempf@sonnenschein.com]
       Sent: Wed 11/10/2004 4:27 PM
       To: Sgenger@trans-resources.com
       Cc: Klimerman, Edward
       Subject: FROM: Ed Klimerman

       Per your request, attached is a draft of the Indemnity Letter. <<NYCLIB1-17454061-v1-
       Letter from Sagi to Orly.DOC>>

May 29 Sagi Decl., Exh. “B.”


                                                  3
      Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 8 of 20



        Later that day, Sagi forwarded to Orly, unchanged, the Nov. 10, 2004 Indemnity prepared

by Mr. Klimerman:

        From: Sagi Genger
        Sent: Wednesday, November 10, 2004 5:51 PM
        To: orlygenger@hotmail.com
        Cc: dparnes@parnespartners.com
        Subject: Loose End from Divorce

        Dear Orly,

        Since you were in Fiji I promised to mom her full share interest in TRI instead of only
        half. Please sign the attached to split it with me.

        If you have any questions you can call David.

        Love,

        Sagi

Parnes Decl., Exh. “C.”

        Shortly thereafter, David Parnes, Sagi’s attorney, made arrangements directly with Orly

to pick up a copy of the Nov. 10, 2004 Indemnity that Orly had signed. Specifically, Orly called

Mr. Parnes and told him that she was leaving the signed copy with the doorman at her New York

apartment building. Mr. Parnes thereafter picked up the copy, which he brought to Sagi. Mr.

Parnes watched Sagi sign the document, and then added the fully-executed copy to the Genger

family’s corporate files. Parnes Decl., ¶ 8; July 7 Sagi Decl. ¶¶ 5-7.

        As it turned out, Dalia’s skepticism of her husband’s veracity was well-placed, as the TRI

shares did produce substantial value.2 Meanwhile, Dalia continued to rack up large legal fees


2
         Specifically, in a post-divorce arbitration, Justice Milonas (Ret.) found that Arie had deliberately
falsified his marital assets by falsely valuing his TRI shares at $0 by claiming a corporate liability which
did actually not exist. Pennisi Decl., Exh. “C,” at 8. By contrast, Justice Milonas found that the “most
credible, reliable and the fairest assessment [of the marital assets in dispute] was prepared by Sagi.” Id. at
11. By Arbitration Award dated May 6, 2008, Justice Milonas awarded Dalia $3.85 million to correct the
imbalance in marital assets created by Arie’s fabrication. Id. Sagi’s refusal to help his father defraud his
mother earned him Arie’s enmity, which has manifested itself in six years of meritless lawsuits by Orly
against her brother, directed and funded by Arie. On July 24, 2014, the Appellate Division threw out the
most significant of these lawsuits. Pennisi Decl., Exh. “E.”


                                                      4
      Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 9 of 20



from her daughter’s never-ending, meritless lawsuits. On January 22, 2014, Dalia demanded

$200,000 from Sagi under the Oct. 30, 2004 Promise. May 29 Sagi Decl., Exh. “D.” The next

day, Sagi notified Orly and her lawyers of Dalia’s demand, and his intention to honor his prior

commitment to his mother. Id., ¶ 6; July 7 Sagi Decl. at 11.

       Therafter, Sagi properly paid Dalia $200,000. Pennisi Decl., Exh. “A,” Tr. 124:23-125-

16. Sagi then demanded $100,000 (one-half of the amount paid by Sagi to Dalia) from Orly

under the Nov. 10, 2004 Indemnity. This litigation was commenced for the simple reason that,

to date, Orly has refused to reimburse Sagi for the $100,000 she owes him under the Nov. 10,

2004 Indemnity. May 29 Sagi Decl., Exh. “E.”

       Instead, Orly has denied the existence of the agreement altogether see May 29 Sagi Decl.,

Exh. E, suggesting the Nov. 10, 2004 Indemnity is a figment of Sagi’s and Mr. Parnes’s

collective imagination. If it were, then they have been imagining it for quite some time. In

October 2006, about two years after the document was signed, Sagi contacted Mr. Parnes to ask

him where he had filed the Nov. 10, 2004 Indemnity. Parnes Decl., Exh. “D” & ¶ 10. Mr.

Parnes directed Sagi to the place where he had placed the fully-executed copy. Id.

       From: David Parnes
       Sent: Tuesday, October 03, 2006 9:07 AM
       To: Sagi Genger
       Subject: RE: Signed Promise

       It shoudl be either [sic]

       (i) in your inbox - folder on your desk; or

       (ii) top drawer, in folder labelled with your name / mother name.
       ________________________________
       From: Sagi Genger
       Sent: Mon 10/2/2006 3:15 PM
       To: David Parnes
       Subject: RE: Signed Promise

       I signed a promise for the entire amount she signed a back to back promise for half the
       amount.
       ________________________________



                                                     5
     Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 10 of 20



        From: David Parnes
        Sent: Monday, October 02, 2006 3:15 PM
        To: Sagi Genger
        Subject: RE: Signed Promise

        ?
        ________________________________
        From: Sagi Genger
        Sent: Monday, October 02, 2006 9:55 AM
        To: David Parnes
        Subject: RE: Signed Promise

        Do you have my sister’s indemnity?
        ________________________________
        From: David Parnes
        Sent: Tuesday, July 11, 2006 2:06 PM
        To: Sagi Genger
        Subject: FW: Signed Promise

        see attached
        ________________________________
        From: David Parnes [mailto:david@ParnesPartners.com]
        Sent: Thursday, November 11, 2004 10:12 PM
        To: orlygenger@hotmail.com
        Subject: Signed Promise

        Orly,

        \Attached is the signed promise from Sagi to your mother.

        Best,

        David

Parnes Decl., Exh. “D.”

        Tellingly, whenever she has been asked to speak to the issue directly and under oath, as

opposed to through her lawyers, Orly has declined to deny that she in fact executed the Nov. 10,

2004 Indemnity. In a February 2014 deposition, for example, Orly testified that, while she did

not recall signing the Nov. 10, 2004 Indemnity, the signature appeared to be hers. Pennisi Decl.,

Exh. “B,” Tr. 41:15-45:14 (“It looks like my signature. But I have absolutely no recollection of

signing this document, so I can’t say if it is or if it isn’t”). Similarly, in a reply affirmation she

submitted in the predecessor case, the most that Orly could muster was a statement that: “I do not

remember signing the November Document.” 1:14-cv-01006-KBF, Doc. 35 at 4.


                                                   6
     Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 11 of 20



       Even though Orly only claims a lack of memory, that did not stop her attorney from

representing to this Court in April 2014 that the Nov. 10, 2004 Indemnity is a “forgery.” As

noted above, there is contemporaneous record which proves that a Sonnenschein lawyer drafted

the document, that Sagi provided a copy of it to Orly on November 10, 2004, that she told Mr.

Parnes that she signed it, and that she then left a signed copy of the document for Mr. Parnes

with her doorman. By contrast, there is absolutely no evidence that the Nov. 10, 2004 Indemnity

is a forgery. In order to remove any shred of doubt, however, Sagi has retained a handwriting

expert who has compared Orly’s signature on the Nov. 10, 2004 Indemnity to over two dozen of

Orly’s signatures on other documents. It is his conclusion that “Orly Genger signed her name”

to the Nov. 10, 2004 Indemnity. See Ryan Decl., Exh. “A.”

                                           ARGUMENT

I.     LEGAL STANDARD

       Under Federal Rule of Civil Procedure 56, summary judgment “shall be rendered” if the

submissions “show[s] that there is no genuine dispute as to any material fact and that the movant

is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). If the evidence in the record

“could not lead a . . . trier of fact to find for the non-moving party, there is no genuine issue for

trial,” and the motion should be granted. Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

U.S. 574, 587 (1986) (citation omitted). In turn, there are no factual issues for trial unless there

is sufficient evidence favoring the non-moving party for a reasonable jury to return a verdict for

that party. Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). “[M]ere speculation or

conjecture,” no matter how sincere, is insufficient to withstand a summary judgment motion.

Knight v. U.S. Fire Ins. Co., 804 F.2d 9, 12 (2d Cir. 1986).

       In its October 7, 2014 Order, this Court held that: “This lawsuit is concerned solely with

whether the indemnification obligation is binding and whether the request for payment has been


                                                   7
      Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 12 of 20



duly made and is valid. The resolution of this action will be based on evidence surrounding the

circumstances of defendant’s alleged entry into the indemnification agreement in 2004. ” Doc.

No. 26 at 1-2. Here, such evidence conclusively establishes that the Nov. 10, 2004 is binding

and that Sagi’s request for payment has been duly made. Accordingly, summary judgment of

liability is warranted in Sagi’s favor.

II.    SAGI IS ENTITLED TO SUMMARY JUDGMENT ON HIS CLAIM FOR
       BREACH OF CONTRACT

       The three elements of a breach of contract claim under New York law are: (1) a contract;

(2) a material breach thereof; and (3) damages resulting from the breach. Nat’l Mkt. Share, Inc.

v. Sterling Nat’l Bank, 392 F.3d 520, 525 (2d Cir. 2004). As all three elements are satisfied here,

Sagi has made the requisite prima facie showing.

       A.      The Undisputed Evidence Demonstrates that
               the Nov. 10, 2004 Indemnity is an Enforceable Contract

       First, there is no genuine dispute that the Nov. 10, 2004 Indemnity is a valid and binding

contract between Sagi and Orly. The evidence establishes that, in connection with Arie’s and

Dalia’s final divorce negotiations, Dalia agreed to convey her marital rights to 794.40 shares of

TRI to two trusts for the benefit of Sagi and Orly, respectively. However, Dalia’s agreement was

solely on the condition that Sagi and Orly provide for her living expenses, should she need the

financial support, if the TRI shares later produced any economic value. Parnes Decl., ¶ 3. Orly

orally agreed to share that burden, which she memorialized in the Nov. 10, 2004 Indemnity when

she returned from Fiji. See Pennisi Decl., Exh. “G.” at 008-0010; Parnes Decl., Exh. “C.” The

Nov. 10, 2004 Indemnity was drafted by Orly’s father’s attorney, a partner at a major law firm,

and Sagi’s lawyer picked up a signed copy of the Nov. 10, 2004 Indemnity which Orly left for

pick-up with her own doorman. Pennisi Decl., Exh. “A,” Tr. 114:16-17; May 29 Sagi Decl.,

Exh. “A” at 7; Parnes Decl., ¶ 8; July 7 Sagi Decl. ¶¶ 4-7.

                                                 8
     Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 13 of 20



        Significantly, Orly does not specifically dispute any of these facts. Instead, as noted

above, she has vacillated between selective amnesia, when asked about the matter directly, and

anguishes cries of “forgery,” when speaking through her lawyers. Pennisi Decl., Exh. “B,” Tr.

41:15-45:14 (“It looks like my signature. But I have absolutely no recollection of signing this

document, so I can’t say if it is or if it isn’t”). The former controls.

        Given that Orly has sworn, under oath, that she does not recall whether or not she ever

signed the Nov. 10, 2004 Indemnity, she cannot create an issue of fact by now challenging its

authenticity or disputing its existence. Rather, under New York law, a party to a written contract

must affirmatively deny the existence of the agreement in order to create a factual dispute as to

the contract’s authenticity. In Matter of Zach, 144 A.D.2d 19, 21 (1st Dep’t 1989), for example,

a husband testified that he had “no memory whatsoever of any discussions pertaining to [a

antenuptial agreement with his signature on it], or any memory as to the facts and circumstances

surrounding its execution.” The court held the husband’s “posture of amnesia” insufficient to

raise an issue of fact, when the wife moved for summary judgment. Id.

        Further, and in any event, a handwriting expert has concluded that the Nov. 10, 2004

Indemnity bears Orly’s actual signature, and that the signature was not manipulated in any way,

such as being copied and pasted from another document. See Ryan Decl., Exhibit “A,” Expert

Report (concluding that “Orly Genger signed her name” to the Nov. 10, 2004 Indemnity). This

same expert concludes that Orly’s signature on the Nov. 10, 2004 Indemnity is “remarkably

similar” to dozens of her other signatures. Id. To date, his opinion stands unrebutted, which

further demonstrates that this document is genuine. See, e.g., Tai-Sun Plastic Novelties, Ltd. v.

Haschel Exp. Corp., 2003 WL 22966285 at *3 (S.D.N.Y. Dec. 16, 2003).

        Finally, the undisputed evidence establishes that the Nov. 10, 2004 Indemnity is

supported by ample consideration in two ways. First, Orly received a benefit in the overall

                                                   9
     Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 14 of 20



agreement reached by Dalia, Sagi, and Orly. In consideration for Orly’s promise to reimburse

Sagi for 50% of monies paid to Dalia under the Oct. 30, 2004 Promise, the Orly Genger 1993

Trust (the “Orly Trust”) – for which Orly is the principal beneficiary – received an economic

benefit from her mother’s conveyance of her marital rights in the TRI shares to the Trust by

virtue of the Oct. 30, 2004 Promise. See Parnes Decl., Exh. “A.”

       Second, in addition to the financial windfall, Orly also received an emotional and

psychological benefit in helping to bring about an end to her parents’ bitter divorce. As the

testimony establishes, the Gengers’ divorce was tearing the family apart. Thus, for everyone’s

emotional well-being (on top of the economic benefit of the TRI shares), Orly agreed to the

clawback in order to end her parents’ protracted divorce battle. See Pennisi Decl., Exh. “B,” Tr.

39:11-39:19 (“I definitely had a desire for the divorce to be over with . . . [b]ecause it was a

horrible period.”). New York law “recognizes other forms of legitimate consideration, including

non-monetary consideration.” Commodity Futures Trading Comm’n v. Walsh, 17 N.Y.3d 162,

175-76 (2011) (listing examples of non-economic consideration).

       The unchallenged evidence is that Orly agreed to reimburse Sagi in exchange for these

two real benefits. Under New York law, that is sufficient consideration. See, e.g., RLS Assocs.,

LLC v. United Bank of Kuwait PLC, 380 F.3d 704, 709 (2d Cir. 2004) (“So long as a contract

provides some consideration, it may be minimal – even a peppercorn . . . Courts do not inquire

into the value or adequacy of the consideration.”). In particular, Dalia’s contractual right to claw

back the economic value attributable to the TRI shares under the Oct. 30, 2004 Promise was an

express condition to her agreement to sign the divorce papers, relinquish her right to the TRI

shares, and end a protracted family battle.

       That the family’s agreement was implemented in two documents instead of one was a

matter of happenstance. On October 30, 2004, the closing date of the divorce, Orly was yachting

                                                 10
     Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 15 of 20



off the coast of Fiji. See Parnes Decl. ¶ 5; Pennisi Decl., Exh “A,” Tr. 30:8-30:18; Tr. 43:18-

43:22; Id., Exh. “G” at 0008-0010. Prior to her departure, Orly had agreed with Sagi to split any

monies paid to Dalia under the clawback, but Sagi temporarily assumed the entire obligation to

Dalia under the Oct. 30, 2004 Promise so that the closing could be completed without awaiting

Orly’s return. Id., Exh. “A.,” Tr. 23:10-23:13; 29:18-29:21; 32:10-32:12; 98:12-99:16. Sagi

only did so, however, because Orly had verbally agreed to reimburse him for 50% of any monies

paid to Dalia, and to memorialize that agreement upon her return to the United States. Id. Sagi

signed the Oct. 30, 2004 Promise with Dalia and then, when Orly returned to New York from her

trip to Fiji, she executed the Nov. 10, 2004 Indemnity to memorialize her prior oral agreement

with Sagi. See Parnes Decl., ¶ 8 and Exh “C.”

       Orly has previously argued that the Nov. 10, 2004 Indemnity is without consideration

because she signed it eleven days after the consideration found in the Oct. 30, 2004 Promise.

That argument is unavailing. The Oct. 30, 2004 Promise and Nov. 10, 2004 Indemnity are

plainly interrelated; indeed, the latter attaches and cross-references the former. Under New York

law, interrelated documents are enforceable together, even if one is executed slightly later in time

than the other. See, e.g., Commander Oil Corp. v. Advance Food Serv. Equip., 991 F.2d 49, 53

(2d Cir. 1993) (“Even if the writings are executed at different times, . . . contracts should be

interpreted together if ‘the parties assented to all the promises as a whole so that there would

have been no bargain whatever if any promise or set of promises had been stricken.’”) (quoting

Williston, Contracts, § 863 at 275 (3rd ed. 1970)); Kurz v. United States, 156 F. Supp. 99, 104

(S.D.N.Y. 1957), aff’d, 254 F.2d 811 (2d Cir. 1958) (New York law is flexible on any “time

lapse between instruments” because, “where several instruments, executed contemporaneously

or at different times, pertain to the same transaction, they will be read together, even though they

do not expressly refer to each other”); Nau v. Vulcan Rail & Constr. Co., 286 N.Y. 188, 197

                                                 11
     Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 16 of 20



(1944) (finding that because agreements at issue “were executed at substantially the same time,

related to the same subject matter, [they] were contemporaneous writings and must be read

together as one.”). Thus, the Nov. 10, 2004 Indemnity does not fail for lack of consideration

merely because it was signed after the Divorce Stipulation.

       Orly received real benefit for her agreement to reimburse Sagi. Under New York law,

that is more than sufficient consideration for an enforceable agreement. See, e.g., RLS Assocs.,

LLC, 380 F.3d at 709.

       Aside from the benefits Orly received, the detriment Sagi has incurred from the Nov. 10,

2014 Indemnity provides further consideration to support it. As the Court of Appeals explained

in Holt v. Feigenbaum, 52 N.Y.2d 291, 296-300 (1981), “[t]his dual notion of consideration as

either a benefit to the promisor or a detriment to the promisee has persisted [from 17th Century

English common law in Slade’s Case] to the present day and has become an integral part of our

modern approach to the enforceability of contracts.” It added:

       Far from consideration needing to be coextensive or even proportionate,
       the value or measurability of the thing forborne or promised is not crucial
       so long as it is acceptable to the promisee. Thus, courts have not hesitated
       to find sufficient consideration not only in what is now the proverbial
       peppercorn . . ., but in ‘a horse or a canary, or a tomtit if [the promisee]
       chose’ . . . In fact, the detriment suffered or the thing promised need be of
       no benefit to the one who agreed to it.

Weiner v. McGraw-Hill, Inc., 57 N.Y.2d 458, 464-65 (1982); see also Hollander v. Lipman, 65

A.D.3d 1086, 1087 (2d Dep’t 2009) (reversing trial court’s finding that “the alleged April 1995

oral agreement between the defendant’s decedent . . . and his late daughter was not supported by

consideration … [where] the decedent’s daughter agreed to suffer a detriment provided sufficient

consideration to support the alleged agreement.”).

       Here, Orly made a personal promise to reimburse Sagi for half of their mother’s support,

which Sagi reasonably relied upon (given it came from his own sister), and for which he suffered

                                                12
     Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 17 of 20



a detriment. See July 7 Sagi Decl., ¶ 9 and Exh. “H.” It would be unconscionable to force Sagi

to support his mother on his own, when both he and Orly made a commitment to equally do so,

and when the reason Dalia seeks the financial support is because Orly has depleted her resources

through endless, meritless lawsuits. See, e.g., Pennisi Decl., Exh. E.

       B.      Orly Undisputedly Breached the Nov. 10, 2004 Indemnity

       There can be no genuine factual dispute that Orly breached the Nov. 10, 2004 Indemnity

and that Sagi is owed $100,000, plus fees and expenses, as a result. It is undisputed that Sagi

paid Dalia $200,000, and that Orly has not reimbursed Sagi for 50%. See July 7 Sagi Decl. Exh.

“H;” see also Dalia Decl. ¶ 2. Sagi received Dalia’s $200,000 demand on January 22, 2004, and

within 24 hours had notified Orly of the demand and his intention to pay it. May 29 Sagi Decl.,

Exh. “D”; ¶ 6; July 7 Sagi Decl. ¶ 7. On January 24 and 29, 2014, Orly’s counsel sent emails in

which they acknowledged Sagi’s notice. Pennisi Decl., Exhs. “F,” “M.” In sum, Orly clearly

knew about her obligation, and yet she knowingly shirked it.

       C.      Orly Had No Right to Defend Against Dalia’s Claim

       Furthermore, Orly has previously argued that she, as an indemnitor, has no contractual

duty to indemnify without first receiving notice and a chance to defend. This argument fails for

a number of reasons.

       First, there is no viable defense that Sagi could truthfully have asserted to Dalia’s

payment demand. Neither Sagi nor Dalia is feigning amnesia, or crying “forgery,” or pretending

there is no consideration. See July 7 Sagi Decl. ¶¶ 8-12; Dalia Decl. ¶2. Under New York law,

no notice to Orly is required where, as here, the indemnitee can “establish that [it] would have

been liable and that there was no good defense to the liability.” Deutsche Bank Trust Co. of

Ams. v. Tri-Links Inv. Trust, 74 A.D.3d 32, 39 (1st Dep’t 2010). As Sagi plainly owed Dalia the



                                                13
       Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 18 of 20



money, he was right to pay it.

        Second, and in any event, the Nov. 10, 2004 Indemnity is not a traditional indemnity

obligation, like an insurance contract, pursuant to which Orly agreed to cover a particular type of

claim. See, e.g., Morse/Diesel, Inc. v. Trinity Indus., Inc., 1994 WL 164057, at *2 (S.D.N.Y.

Apr. 21, 1994) (traditional indemnity is where “the party seeking indemnification [seeks] it for

amounts paid in settlement of a legal claim asserted by a third party”). The Nov. 10, 2004

Indemnity is a contribution obligation – a duty to reimburse Sagi for 50% of any amount that

Sagi paid to Dalia in accordance with the Oct. 30, 2004 Promise.

        Lastly, even assuming, arguendo, that the Nov. 10, 2004 Indemnity grants Orly an

absolute right to defend any claim made by Dalia under the Oct. 30, 2004 Promise, no matter

how frivolous (and it does not), Orly still repudiated her Nov. 10, 2004 Indemnity on February

18, 2004 when, in reply to Sagi’s follow-up request for reimbursement, she emailed him back

telling him to “stop lying about me and about the history.” May 29 Sagi Decl., Exh. E. Under

New York law, one cannot repudiate a contract while simultaneously claiming a right to defend

under that very same contract. See Computer Possibilities Unlimited, Inc. v. Mobil Oil Corp.,

301 A.D.2d 70, 79 (1st Dep’t 2002) (a party who repudiates a contract cannot claim right to

enforce thereunder). In sum, Orly has forfeited any right she may have otherwise had to invoke

the provisions of the Nov. 10, 2004 Indemnity for her personal benefit.

        Accordingly, under Fed. R. Civ. Proc. 56, Sagi should be granted summary judgment,

and the case should proceed to the damages phase.


III.    IN THE ALTERNATIVE, SAGI IS ENTITLED TO SUMMARY JUDGMENT ON
        HIS CLAIM FOR PROMISSORY ESTOPPEL

        The doctrine of promissory estoppel also renders Orly’s Nov. 10, 2004 Indemnity to Sagi

enforceable, entitling Sagi summary judgment. Promissory estoppel is an equitable doctrine.


                                                14
     Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 19 of 20



Ciocca v. Neff, 2005 WL 1473819, at *6 (S.D.N.Y. June 22, 2005) (citing Restatement (Second)

of Contracts § 90 (1981)). Under New York law, it requires: (1) a clear and unambiguous

promise; (2) reasonable and foreseeable reliance by the party to whom the promise was made;

and (3) the person to whom the promise was made relied on the promise to his or her detriment.

See Henneberry v. Sumitomo Corp. of Am., 532 F. Supp. 2d 523, 533 (S.D.N.Y. 2007) (citing

Esquire Radio & Elecs., Inc. v. Montgomery Ward & Co., Inc., 804 F.2d 787, 793 (2d Cir.

1986)); see also Rest. Contracts 2d § 90.

       Here, Sagi’s claim for promissory estoppel is based upon a clear and unambiguous

promise by Orly to reimburse Sagi for 50% of their mother’s support, which Sagi reasonably

relied upon, given that it was coming from his own sister and concerned their mother. It would

be an unconscionable injury to Sagi to force him to support their mother on his own, when they

both made an express commitment to do so, particularly given that the reason their mother seeks

the financial support is because Orly has depleted her resources through meritless lawsuits. See,

e.g., Pennisi Decl., Exh. “E” (affirming dismissal of all of Orly’s claims against Dalia in that

action as meritless). The facts thus satisfy all of the elements of promissory estoppel. See, e.g.,

Meyersohn v. Bloom, 259 A.D.2d 432, 433-34 (1st Dep’t 1999) (doctrine of promissory estoppel

provided basis for recovery notwithstanding lack of consideration; “correspondence between the

parties evidenced a clear personal promise by defendant to repay the amount in dispute, and

plaintiffs relied on the promise”); accord, e.g., Consol. Energy Design Inc. v. Princeton Club of

New York, 2014 WL 1202946, *3 (S.D.N.Y. March 24, 2014).

                                         CONCLUSION

       For the foregoing reasons, summary judgment should be granted in Sagi’s favor on the

question of liability, and the parties should proceed to the issue of damages.




                                                 15
    Case 1:14-cv-05683-KBF-DCF Document 36 Filed 10/20/14 Page 20 of 20



Dated:     New York, New York
           October 20, 2014
                                  Respectfully submitted,

                                  MORGAN, LEWIS & BOCKIUS LLP


                                  By:          /s/ John Dellaportas
                                        John Dellaportas
                                        Nicholas E. Schretzman
                                        Mary C. Pennisi
                                        101 Park Avenue
                                        New York, New York 10178
                                        Attorneys for Plaintiff Sagi Genger




                                    16
